Case 1:05-cr-00031-WTH-GRJ        Document 109      Filed 12/12/05   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                   CASE NO.: 1:05cr31-SPM

TAJAR MUQIT LEATH,
     a/k/a “Taja”

____________________________/

                            ORDER OF DISMISSAL

      Upon consideration of the Government’s Motion to Dismiss the indictment

against Defendant Tajar Muqit Leath (doc. 108), it is hereby

      ORDERED AND ADJUDGED:

      1.     The motion (doc. 108) is granted.

      2.     The indictment as to Defendant Tajar Muqit Leath is dismissed.

      DONE AND ORDERED this 12th day of December, 2005.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
